               Case 19-90399-AKM-13                       Doc        Filed 06/30/21              EOD 06/30/21 17:13:14                      Pg 1 of 6
Fill in this information to identify the case:

 Debtor 1              Robert D. Burke

 Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:        Southern         District of   IN
                                                                              (State)
Case number 19-90399-AKM-13


  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                                              12/15
  If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
  principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
  to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1

  Name of
  creditor:               Freedom Mortgage Corporation                                                     Court Claim no. (if known)       6

                                                                                        Date of payment change:
  Last 4 digits of any number you use
                                                                                        Must be at least 21 days after date
  to identify the debtor’s account:                           1838                                                                              August 1, 2021
                                                                                        of this notice


                                                                                        New total payment:
                                                                                                                                                $1,019.43
                                                                                        Principal, interest, and escrow, if any



    Part 1       Escrow Account Payment Adjustment

  1. Will there be a change in the debtor’s escrow account payment?
            No
        x   Yes.      Attach a copy of the escrow account statement prepared I a form consistent with applicable nonbankruptcy law. Describe
                      the basis for the change. If a statement is not attached, explain why:



                      Current escrow payment:       $356.08                    New escrow payment:                $359.52


    Part 2       Mortgage Payment Adjustment

  2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
  variable-rate account?
        x   No
            Yes.      Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                      Attached, explain why:



                      Current interest rate:                            %      New interest rate:                                  %

                      Current principal and interest payment: $                              New principal and interest payment:        $

    Part 3       Other payment change

  3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

        x   No
            Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                 (Court approval may be required before the payment change can take effect.)
            Reason for change:

            Current mortgage payment: $                                                     New mortgage payment: $


                                                                                                                                                            page 1
  Official Form 410S1                                     Notice of Mortgage Payment Change                                                                    246
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Debtor1         Robert D. Burke                                                          Case number (if known)            19-90399-AKM-13
                First Name             Middle Name           Last Name


 Part 4:      Sign Here


The person completing this Notice must sign it. Sign and print your name and title, if any, and state your address and telephone
number.

Check the appropriate box

          I am the creditor


   x      I am the creditor’s authorized agent.



I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information and reasonable belief.




                    X         /s/ Jessica S Owens                                                 Date      6/29/2021
                              Signature



Print:                        Jessica S Owens                                                     Title     Attorney for Creditor
                              First Name           Middle Name    Last Name



Company                       Doyle & Foutty, P.C.




Address                       41 E. Washington St., Suite 400
                              Number      Street


                              Indianapolis                       IN            46204
                              City                                State       ZIP Code




Contact Phone         317-264-5000                                                       Email   bankruptcy@doylefoutty.com




                                                                                                                                                74
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                                          CERTIFICATE OF SERVICE


         This is to certify that a copy of the foregoing has been served upon the following electronically or by first
class, United States mail, postage prepaid or electronic mail, on the date of filing in the United States Bankruptcy
Court:

Robert D. Burke, 6206 Aurora Ave, Charlestown, IN 47111
Richard A. Schwartz, Kruger & Schwartz, 3339 Taylorsville Road, Louisville, KY 40205,
Rickaschwartz@gmail.com
Joseph M. Black, Jr., P.O. Box 846, Seymour, IN 47274, jmbecf@trustee13.com
U.S. Trustee, Office of the U.S. Trustee, 101 W. Ohio St. Ste. 1000, Indianapolis, IN 46204,
ustpregion10.in.ecf@usdoj.gov

                                                       By /s/ Jessica S Owens
                                                          Attorneys for Freedom Mortgage Corporation
                                                          Doyle & Foutty, P.C.
                                                          41 E Washington Street, Suite 400
                                                          Indianapolis, IN 46204
                                                          Phone: (317) 264-5000
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     PART


                2                                                   Your Escrow Account History

                            The chart below compares what we projected to occur with actual activity in your escrow account since the
                            last analysis.

              Previous Year's Projections (Estimated)                                                             Actual Activity
  Date            Paid In      Paid Out   Description                      Balance     Date        Paid In    Paid Out      Description                  Balanc e
                                          Beginning Balance                  $0.00                                          Beginning Balance         ($2,454.83)
Aug 2020            $0.00        $0.00                                       $0.00   Aug 2020       $0.00        $0 00                                ($2,454.83)
Sep 2020            $0.00        $0.00                                       $0.00   Sep 2020       $0.00        $0 00                                ($2,454.83)
Oct 2020            $0.00        $0.00                                       $0.00   Oc t 2020    $352.14      $897 00 *                              ($2,999.69)
Nov 2020            $0.00        $0.00                                       $0.00   Nov 2020     $352.14       $78 69 *                              ($2,726.24)
Dec 2020            $0.00        $0.00                                       $0.00   Dec 2020     $704.28       $78 69 *                              ($2,100.65)
Jan 2021            $0.00        $0.00                                       $0.00   J an 2021    $352.14       $78 69 *                              ($1,827.20)
Feb 2021            $0.00        $0.00                                       $0.00   Feb 2021     $352.14       $78 69 *                              ($1,553.75)
Mar 2021            $0.00        $0.00                                       $0.00   Mar 2021     $352.14       $78 69 *                              ($1,280.30)
Apr 2021            $0.00        $0.00                                       $0.00   Apr 2021     $352.14       $78 69 *                              ($1,006.85)
Apr 2021            $0.00        $0.00                                       $0.00   Apr 2021       $0.00      $957 00      COUNTY TAX                ($1,963.85)
May 2021            $0.00        $0.00                                       $0.00   May 2021     $352.14       $78 69 *                              ($1,690.40)
Jun 2021            $0.00        $0.00                                       $0.00   J un 2021    $356.08       $78 69 *                              ($1,413.01)
Jul 2021            $0.00        $0.00                                       $0.00   Jul 2021       $0.00        $0 00                                ($1,413.01)
 Total              $0.00        $0.00                                                Total      $3,525.34   $2,483.52



           An asterisk (*) indicates a difference in that month between the actual activity and the estimated activity.
           When applicable, the letter “E” beside an amount indicates that a payment or disbursement has not yet occurred but is estimated
           to occur as shown.
           A double asterisk (**) indicates a difference in that month between the actual activity and the estimated activity due to interest
           payable on Escrow which is not estimated.




   LOAN NUMBER




                                                 (This section intentionally left blank)
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